Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 1 of 60 PageID# 165




                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


  NSPIRE SPORTS LEAGUE, LLC,

                 Plaintiff,
                                                    Case No. 1:16cv232 (CMH / TCB)
  v.

  IFBB PROFESSIONAL LEAGUE, et al.,

                  Defendants.


                                FIRST AMENDED COMPLAINT

        Nspire Sports League, LLC (“Nspire”) files its First Amended Complaint against the

 IFBB Professional League (“IFBB Professional”), the International Federation of Bodybuilding

 and Fitness (“IFBB International”), and National Physique Committee of the USA, Inc. d/b/a

 NPC (“NPC”) (collectively, the “IFBB Family”), and would show the Court as follows:

                                     NATURE OF ACTION

        1.      The “IFBB Family” – a term used by IFBB Professional on its website to describe

 the three defendants – has dominated amateur and professional bodybuilding for decades and

 uses its market position to exclude all significant would-be competitors.

        2.      In violation of Section 1 of the Sherman Act, NPC, IFBB International, and IFBB

 Professional have entered into a series of anticompetitive agreements with each other wherein

 (i) IFBB Professional maintains a policy that requires U.S.-based amateurs to win or place highly

 at certain NPC-sponsored amateur competitions in order to join IFBB Professional; (ii) IFBB

 International has promulgated rules that automatically subject NPC’s athletes without their

 knowledge to the loyalty rules contained in IFBB International’s Constitution; (iii) NPC

 maintains a policy that excludes bodybuilders who compete for money in competitions held by
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 2 of 60 PageID# 166




 bodybuilding organizations outside the IFBB Family from competing in NPC-sanctioned events;

 and (iv) NPC maintains a practice where it will point out the loyalty rules in IFBB International’s

 Constitution to prevent amateur athletes from participating in contests run by competing

 bodybuilding organizations. The conspiracy among the three defendants results in a web of

 agreements between them that (i) forces all U.S.-based amateur bodybuilders who want to

 become an IFBB Professional athlete to compete exclusively at NPC-sanctioned events and to

 forego all potential income from bodybuilding contests until they are elevated to the ranks of

 professional bodybuilders within the IFBB Family; and (ii) prevents bodybuilding organizations

 outside the IFBB Family from competing for the services of elite amateur bodybuilders who

 could compete either in major amateur competitions or in professional competitions sanctioned,

 regulated, and/or promoted by that rival bodybuilding organization.

        3.      In violation of Section 2 of the Sherman Act, NPC has achieved, attempted to

 achieve, and/or conspired with IFBB International and IFBB Professional to obtain (i) monopoly

 power over the output market for the business of major amateur bodybuilding events in the

 United States; and (ii) monopsony power over the market for U.S.-based elite amateur athletes

 with a realistic chance of becoming a professional bodybuilder. Specifically, NPC has combined

 with IFBB International, IFBB Professional, and/or other business run by the IFBB Family to

 establish a set of exclusive-dealing contracts and/or de facto exclusive-dealing contracts with

 promoters, vendors, sponsors, contest judges, and athletes to lock potential competitors,

 including Nspire, out of the most profitable segment of the United States bodybuilding market.

        4.      The IFBB Family has entered into several unlawful exclusive-dealing contracts

 and/or de facto exclusive-dealing contracts, including those that require IFBB International,

 IFBB Professional, NPC, and the media and marketing entities controlled by the IFBB Family’s



                                                 2
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 3 of 60 PageID# 167




 leadership to blackball promoters, sponsors, venues, clothing or supplement manufactures, and

 others who do business with bodybuilding organizations outside the IFBB Family. However, the

 most destructive of all these interlocking agreements are two provisions in IFBB International’s

 written Constitution. Article 19.4.7 of that document provides that “any athlete or official who

 participates in a competition or event not approved or sanctioned by the IFBB, may be fined,

 suspended or expelled” from the organization. IFBB Int’l, Constit., art. 19.4.8 (updated March

 2015). Article 19.4.8 further states that no IFBB “athlete, judge, official, administrator or other

 Member shall hold membership in any other bodybuilding and/or fitness organization; nor shall

 that Member participate in or promote, in any way, shape or form, their activities, failing which

 the Member may be fined, suspended or expelled.” Id. at art. 19.4.8 (emphasis added). The

 IFBB Family member in charge of amateur bodybuilding in the United States, NPC, enforces

 those provisions to prevent certain elite amateur athletes from associating themselves with

 contests or other events run by bodybuilding organizations, such as plaintiff Nspire, that pose a

 competitive threat to any member of the IFBB Family.

        5.      The exclusive arrangements and conspiracy among IFBB International, NPC, and

 IFBB Professional, as alleged herein, has foreclosed competition and thereby enhanced and

 maintained (i) NPC’s monopoly power in the output market for major amateur bodybuilding

 events in the United States; and (ii) NPC’s monopsony power in the input market for elite

 amateur athletes, which in turn enhances and maintains IFBB Professional’s monopoly power in

 the output market for professional bodybuilding events throughout the world.

        6.      As a result of the IFBB Family’s unlawful anticompetitive activities, competition

 has been stifled, and Nspire has been substantially injured in its business to the point where




                                                 3
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 4 of 60 PageID# 168




 Nspire likely will be forced out of the market altogether if the IFBB Family’s anticompetitive

 conduct goes unchecked.

         7.      The purpose of this action is to (i) clear the way for transparent and healthy

 competition in the bodybuilding community; and (ii) seek legal and equitable redress for the

 injuries Nspire has already sustained, or will suffer, as a result of the IFBB Family’s ongoing

 violations of antitrust law.

                                          THE PARTIES

         8.      Nspire is a Texas limited liability company with its principal place of business at

 2430 Victory Park Lane, Dallas, Texas 75219.

         9.      IFBB International purports to be a nonprofit legal entity registered under Spanish

 law and headquartered in Madrid, Spain.

         10.     IFBB Professional is nonprofit corporation incorporated under the laws of

 Canada, which lists the following as its corporate address on the “Corporations Canada” website

 run by the Government of Canada: 2875 Bates Road, Montreal, Quebec QC H3S 1B7, Canada.

         11.     NPC is a nonprofit Ohio corporation that is headquartered in Pittsburgh,

 Pennsylvania at 212 9th Street, Suite 500, Pittsburgh, Pennsylvania 15222.

                                  JURISDICTION AND VENUE

         12.     Jurisdiction is proper in this Court under 28 U.S.C. § 1331 because the action

 arises under Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2.

         13.     This Court has jurisdiction over NPC because it is a corporation that transacts

 business in the district by, among other acts, holding amateur bodybuilding competitions in the

 Commonwealth of Virginia, such as: (i) the Virginia Cup held on August 2, 2014 in Norfolk,

 Virginia; (ii) the Virginia Grand Prix held on June 13, 2015 in Norfolk, Virginia; (iii) the 2016

 NPC MaxMuscle VA Classic Bodybuilding Show to be held on April 30, 2016 in Woodbridge,

                                                  4
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 5 of 60 PageID# 169




 Virginia; (iv) the 2016 NPC Virginia Battle Royale Championships to be held on August 20,

 2016 in Virginia Beach, Virginia; and (v) the 2016 NPC Max Muscle Mid-Atlantic Open &

 Armed Forces Bodybuilding Show & the NPC VA/DC State Show to be held on November 12,

 2016 in Woodbridge, Virginia. Upon information and belief, NPC also appoints a District

 Chairperson for Virginia.

        14.     This Court has jurisdiction over IFBB International because it is a foreign

 corporation that (i) transacts business in the district; (ii) has continuous and systematic ties with

 the Commonwealth of Virginia and the United States in general; and (iii) purposefully directs its

 anticompetitive activities into the Commonwealth of Virginia through, inter alia, binding

 hundreds or thousands of persons domiciled or doing business in the Commonwealth of Virginia

 to exclusive-dealing arrangements and/or de facto exclusive-dealing arrangements through

 Article 19.4.8 of its Constitution and/or other agreements or arrangements. An example of IFBB

 International’s continuous and systematic ties with the United States is the Arnold Classic

 Columbus, which is an amateur bodybuilding event sanctioned, organized, and promoted by

 IFBB International and held annually in Columbus, Ohio. According to IFBB International’s

 website, the Arnold Classic Columbus traditionally is the first IFBB International event of the

 competition season. It is one of the very few amateur competitions in the United States at which

 international athletes compete, drawing over 700 competitors from 68 countries to the 2016

 event. The competition is heavily marketed and covered on IFBB International’s website.

        15.     This Court has jurisdiction over IFBB Professional because it is a foreign

 corporation that (i) transacts business in the district; (ii) has continuous and systematic ties with

 the Commonwealth of Virginia and the United States in general; and (iii) purposefully directs its

 anticompetitive activities into the Commonwealth of Virginia through, inter alia, binding



                                                  5
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 6 of 60 PageID# 170




 persons domiciled or doing business in the Commonwealth of Virginia to exclusive-dealing

 contracts and/or de facto exclusive-dealing contracts.        An example of IFBB Professional’s

 continuous and systematic ties with the Commonwealth of Virginia include the IFBB Lenda

 Murray Pro/Am Men’s Physique, Women’s Bodybuilding, and Figure contests, to be held on

 July 16, 2016 in Norfolk, Virginia.

        16.     Venue is proper (i) under 15 U.S.C. § 22 and 28 U.S.C. § 1391(b) because the

 NPC, IFBB Professional, and IFBB International are each a corporation that transacts business in

 the district and/or because IFBB Professional and IFBB International are foreign corporations

 that transact business in the United States; and/or under (ii) under 28 U.S.C. § 1391(b) because a

 substantial part of the events or omissions giving rise to the claim occurred in this district.

                           INTERSTATE TRADE AND COMMERCE

        17.     The 1977 hit film Pumping Iron followed a young Arnold Schwarzenegger as he

 prepared to face Lou Ferrigno in an IFBB International-sanctioned bodybuilding contest, the

 1975 Mr. Olympia. For many Americans, it was their first glimpse into the world of competitive

 bodybuilding. It would not, however, be their last. As Mr. Schwarzenegger’s popularity grew,

 so did the public’s interest in competitive bodybuilding, and this provided fertile grounds for the

 burgeoning of what became known as the fitness industry.

        18.     Competitive bodybuilding (also referred to in the industry as “physique” and/or

 “fitness”) competitions grew to be a prosperous niche sport that attracts tens of thousands of

 amateurs and professionals in the United States. Moreover, numerous health clubs and training

 facilities, supplement makers and distributors, workout gear manufacturers, magazine and

 website publishers, and other businesses sprang up to help people participate in the growth of

 bodybuilding. Altogether, the wider fitness industry is a multi-billion industry that focuses on

 attracting consumer-athletes and maintaining their loyalty.

                                                   6
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 7 of 60 PageID# 171




        19.    The IFBB Family has long maintained a dominant position within the

 bodybuilding segment of the fitness industry.

               a.      IFBB International is an organization that is to the sport of

                       bodybuilding     what     the   Swiss   organization    Fédération

                       Internationale de Football Association (“FIFA”) is to the sport of

                       soccer – a lightly regulated entity that wields immense power over

                       how and when official competitions are held, and how sponsorship

                       money flows around the world. According to its website, IFBB

                       International “has 191 affiliated nations and is one of the largest

                       and most active international sport federations in the world.” It

                       also “[o]rganizes more than 2,000 local, national, regional,

                       continental and world championships each year[,]” and “[s]upplies

                       the video from its World and major Continental Championships to

                       the major TV companies worldwide.” Moreover, Article 9.2 of the

                       aforementioned Constitution provides: “Although the IFBB shall

                       not offer direct individual membership, members of National,

                       Regional and Continental Federations, by virtue of their

                       acceptance into the IFBB family, agree to be bound by the

                       Constitution and Rules.” IFBB Int’l, Constit., art. 9.2. Thus, the

                       rules and regulations of IFBB International bind U.S.-based

                       members of NPC.

               b.      NPC currently claims to have over 30,000 members across the

                       United States who regularly compete in NPC sanctioned and



                                                 7
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 8 of 60 PageID# 172




                  sponsored    amateur    bodybuilding,     fitness,    and    physique

                  competitions throughout the United States.       NPC recently has

                  represented to the U.S. District Court for the Western District of

                  Pennsylvania that (i) “NPC has been the leading regulator,

                  organizer,   promoter    and    sanctioning    body     of   amateur

                  bodybuilding, fitness and physique competitions throughout the

                  United States” for over three decades; and (ii) that “NPC regulates,

                  organizes,   promotes     and    sanctions    approximately      300

                  bodybuilding, fitness and/or physique competitions throughout the

                  United States” on an annual basis.

            c.    Although professional bodybuilding had been controlled by an

                  unincorporated committee within IFBB International since 1975,

                  IFBB Professional was incorporated as a separate legal entity in

                  2005.   The following chart, taken from IFBB Professional’s

                  website, illustrates its growth from 2005 to 2015:




                                           8
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 9 of 60 PageID# 173




                       IFBB Professional sanctions professional bodybuilding contests

                       throughout America and around the world, including the IFBB

                       Baltimore Grand Prix in Baltimore, Maryland; Joe Weider’s

                       Olympia Fitness & Performance Weekend in Las Vegas, Nevada;

                       and the IFBB Lenda Murray Pro Am & NPC Virginia Classic in

                       Norfolk, Virginia.

        20.     Furthermore, the websites run by NPC and IFBB International offer the online

 purchase of merchandise, some of which is purchased by U.S. consumers.

        21.     Consequently, the business activities of NPC, IFBB International, and IFBB

 Professional that are the subject of this action were within the flow of, and have substantially

 affected, interstate trade and commerce because they involve (i) the regulation and sanctioning of

 bodybuilding contests throughout the United States and the world; and (ii) commercial

 agreements with athletes, judges, sponsors, supplement makers, clothing manufacturers, and

                                                 9
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 10 of 60 PageID# 174




 other persons that reside throughout the United States and the world. Furthermore, during the

 limitations period, each member of the IFBB Family transacted business in multiple states in a

 continuous and uninterrupted flow of interstate commerce throughout the United States.

                                   RELEVANT MARKETS

        22.    There are three relevant markets for the purposes of this action.

                     The Market for Professional Bodybuilding Contests

        23.    The first relevant market is the market for the regulation, sanctioning, and

 promoting of professional bodybuilding contests.

               a.     This is a worldwide market because many professional

                      bodybuilding contests are open to athletes hailing from all corners

                      of the earth, and professional bodybuilding athletes can, and

                      regularly do, compete in contests held outside the nation in which

                      they reside. In addition, professional bodybuilding organizations

                      are international in scope.

               b.     The market for the regulation, sanctioning, and promoting of

                      professional bodybuilding contests is distinct from the market for

                      the   regulation,   sanctioning,    and   promoting     of      amateur

                      bodybuilding contests for at least two reasons.              First, only

                      professional contests offer prize money to athletes, and industry

                      practice requires that event promoters provide only professional

                      athletes with a per diem and reimbursement of travel costs.

                      Second, only those bodybuilding athletes who have been elevated

                      to the rank of professional bodybuilder by a bodybuilding

                      organization are eligible to participate in professional bodybuilding

                                                10
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 11 of 60 PageID# 175




                        contests. Thus, to compete in professional bodybuilding contests,

                        an athlete typically must have won or placed highly in certain

                        select amateur competitions, been invited to join the professional

                        ranks, and be a member in good standing of the bodybuilding

                        organization by being up to date on his or her membership dues,

                        following the bodybuilding organization’s rules and regulation,

                        and so on.

                      The Market for Major Amateur Bodybuilding Contests

           24.   The second relevant market is the market for the regulation, sanctioning, and

 promoting of major amateur bodybuilding contests, generally defined as bodybuilding contests

 involving 300 or more athletes and/or held in venues capable of accommodating 3,500 or more

 people.

                 a.     This is a national market because amateur bodybuilding

                        organizations, such as IFBB International, are organized into

                        national associations or entities that regulate, sanction, and

                        promote competitions in their respective countries. For example,

                        only American athletes are allowed to compete in nearly every

                        major amateur bodybuilding contest held by NPC.

                 b.     The market for the regulation, sanctioning, and promoting of major

                        amateur bodybuilding contests is distinct from the market for the

                        regulation,   sanctioning,   and   promoting    or    professional

                        bodybuilding contests for reasons explained above. The market for

                        the regulation, sanctioning, and promoting of major amateur

                        bodybuilding contests is distinct from the market for the

                                                11
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 12 of 60 PageID# 176




                       regulation, sanctioning, and promoting of non-major amateur

                       bodybuilding contests because, unlike a non-major amateur

                       bodybuilding contest, a major amateur bodybuilding contest

                       involves athletes coming from a much wider geographical area,

                       participation by national and international sponsors (in addition to

                       local sponsors), many more audience members, and the

                       requirement of a larger venue. Consequently, a major amateur

                       bodybuilding contest involves much more marketing and financial

                       risk than non-major amateur bodybuilding contests, and the

                       promotion and staging of a major amateur bodybuilding contest

                       requires extensive knowledge of multiple businesses, not to

                       mention possession of useful connections in each business area.

                       Promoters who operate at a lower stratum in the amateur

                       bodybuilding industry simply cannot accomplish what a promoter

                       of a major amateur bodybuilding contest can, so the output market

                       for the regulation, sanctioning, and promoting of major amateur

                       bodybuilding contests is defined by the distinct and inimitable

                       nature of the services that more sophisticated promoters can

                       provide.

                          The Market for Elite Amateur Bodybuilders

        25.     The third relevant market is the market for elite amateur athletes, i.e., those

 athletes who are primed to be elevated to the ranks of professional bodybuilders.

                a.     This is a national market because, as described above, most

                       bodybuilding organizations are organized into national amateur

                                                12
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 13 of 60 PageID# 177




                   associations or entities and allow only American athletes to

                   compete in nearly every major amateur bodybuilding contest held

                   in the United States. Furthermore, because amateur bodybuilders

                   are ineligible for prize money and typically do not receive per

                   diem payments or reimbursement of their travel costs, it is unlikely

                   that foreign bodybuilders would incur the expense necessary to

                   repeatedly travel to the United States to regularly participate in

                   major amateur bodybuilding contests held here.

             b.    The input market for elite amateur athletes is distinct from the

                   input market for non-elite amateur athletes because the elite

                   amateur athletes are – to borrow a phrase used by the Supreme

                   Court in International Boxing Club of New York, Inc. v. United

                   States, 358 U.S. 242, 252 (1959) – the “cream” of the crop in this

                   field of athletic endeavor as is witnessed by objective factors, such

                   as (i) receiving sponsorship deals; (ii) qualifying to compete at an

                   NPC    “national    championship     show”    –    i.e.,   the   USA

                   Championships, the National Championships, the Junior USA

                   Championships, the IFBB North American Championships, the

                   Team Universe Championships, or an equivalent contest; and

                   (iii) having physiques that would allow them to compete

                   successfully in an NPC “national championship show” as

                   determined by the objective criteria in the judging rules maintained

                   by NPC, IFBB International, or another reputable bodybuilding



                                            13
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 14 of 60 PageID# 178




                        organization, like Nspire. Moreover, unlike the vast majority of

                        the “gym rats” whose passion for bodybuilding outstrips their

                        acumen for the sport, elite amateur athletes have a realistic chance

                        of being elevated to the rank of professional bodybuilder.

        26.     Bodybuilding is a unique industry. Therefore, athletes that train for other sports

 are not a substitute for athletes that train for bodybuilding, and other sporting events are not a

 substitute for bodybuilding events for athletes that train for bodybuilding.

                a.      Other Competitive Sports: Competitive sports (such as boxing and

                        other combat sports, football, baseball, basketball, wrestling, and

                        hockey) might feature heavily muscled athletes who untrained

                        observers might think look like bodybuilders. However, as was

                        pointed out by Rick Wayne, a professional bodybuilder and

                        journalist writing for magazines published by the IFBB Family, the

                        exclusive focus of modern bodybuilding contests is the aesthetic

                        quality of the athletes’ physiques. This, of course, distinguishes

                        bodybuilding athletes from those athletes in other competitive

                        sports where overall athletic prowess is prized, and from

                        weightlifters whose muscles are useful only to the extent that they

                        allow for greater feats of strength. Thus, there are few, if any,

                        professional or elite amateur bodybuilders who have crossed over

                        to, and enjoyed success in, other sports. Similarly, the weight

                        training practiced by bodybuilders differs in meaningful ways from

                        the weight training practiced by athletes competing in other sports,



                                                  14
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 15 of 60 PageID# 179




                   and athletes who practice one form of training end up with

                   physiques that differ markedly from those who practice the other.

                   Therefore, few athletes who enjoyed top-level success in other

                   sports have become a professional or elite amateur bodybuilder.

             b.    Professional Wrestling:    Professional wrestlers also often have

                   outsized physiques that are prized for their aesthetic appeal as

                   much as for their strength. However, agility is of great importance

                   in professional wrestling, and professional wrestlers are often

                   criticized by fans for losing their agility and becoming “muscle

                   bound” when their physiques take on the proportions of

                   bodybuilders. Moreover, there have been few professional or elite

                   amateur bodybuilders who have crossed over, and enjoyed success

                   in, professional wrestling, and vice versa.

             c.    Beauty    Pageants:       Beauty    pageants,   like   bodybuilding

                   competitions, emphasize posing ability and stage presence.

                   However, the aesthetics prized in beauty pageants are quite

                   different from those prized in bodybuilding contests, so a

                   successful bodybuilding athlete is unlikely to enjoy similar success

                   in beauty pageants, and successful beauty pageant contestants are

                   unlikely to enjoy similar success in bodybuilding competitions. In

                   addition, beauty pageants frequently require contestants to engage

                   in activities other than posing – e.g., providing an impromptu

                   verbal response to a question about a current event – further



                                             15
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 16 of 60 PageID# 180




                       distancing beauty pageants from bodybuilding contests.         Thus,

                       there have been few, if any, cross-over successes in these areas.

        27.     Similarly, for a consumer of bodybuilding events, there is little, if any, cross-

 elasticity of consumer demand between bodybuilding events and other sports events or other

 forms of entertainment because bodybuilding is a niche sport whose audience typically is

 comprised of family members and friends of the competing amateur bodybuilders. Unlike most

 other competitive sports, the most profitable segment of the bodybuilding industry is contests

 involving amateurs, who compete at the same event and on the same stage as professionals,

 although in different “contests” within the same event. This is because an amateur contestant

 typically draws an average of four or five paying spectators to a contest from his or her circle of

 family and friends, while professional contestants typically do not travel with friends and family

 and do not generally draw large numbers of ticket buyers themselves. This is not to say that

 professional bodybuilders do not play an important role in the bodybuilding industry. They do.

 Amateur bodybuilders look up to professional bodybuilders because of those athletes’ record of

 success in the context of prize winnings and sponsorships, so a contest with professional

 bodybuilders will draw more elite amateur bodybuilders, which will draw more non-elite

 amateur bodybuilders, which will draw more paying spectators, which will draw more national

 and local sponsors, which will make the event more attractive to promoters and investors.

 However, because the audience of most bodybuilding contests is made up of the friends and

 family of amateur competitors in the contest, an increase in ticket prices to major amateur

 bodybuilding contests above the competitive level for a non-transitory period of time would not

 cause so many consumers to switch to other sporting events or entertainment options so as to

 make the price increase unprofitable. Likewise, a lowering of ticket prices to other sporting



                                                 16
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 17 of 60 PageID# 181




 events or entertainment options for a non-transitory period of time would not cause consumers to

 stop attending major amateur bodybuilding contests to the degree necessary to effectuate a

 decrease in ticket prices for major amateur bodybuilding contests.

        28.     The barriers to entry in both the output markets and the input market are high.

                a.     The barriers to entry in the output markets of regulating,

                       sanctioning, and promoting professional and major amateur

                       bodybuilding contests are high.      For example, because of the

                       exclusive-dealing arrangements and/or de facto exclusive-dealing

                       arrangements that the IFBB Family maintains with promoters, a

                       rival bodybuilding organization would have to promote its own

                       events. Under normal circumstances, establishing and maintaining

                       a bodybuilding promotion requires a substantial investment of

                       capital, and a successful promotion requires the ability to secure

                       appropriate athletes, venues, sponsorships, endorsements, and

                       media distribution rights. The barriers to entry here are raised even

                       further by the fact that the IFBB Family maintains exclusive-

                       dealing contracts and/or de facto exclusive-dealing contracts that

                       are designed to thwart a rival’s ability to secure appropriate

                       venues, sponsorships, endorsements, and media distribution rights.

                b.     The barriers to entry in the input market of elite amateur

                       bodybuilding athletes also are high. It can take years of extreme

                       dedication to weight training before an athlete rises to the top of

                       the amateur ranks, and IFBB International and NPC lock U.S.



                                                17
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 18 of 60 PageID# 182




                        competitors into the IFBB Family at the outset of their careers,

                        typically at their first bodybuilding event (if it is an NPC-

                        sanctioned event). Furthermore, issues associated with language,

                        travel, and other costs prevent a competitive bodybuilding league

                        from recruiting potential amateur athletes from overseas.

                c.      Finally, the very fact that the IFBB Family has maintained an

                        unrivaled dominance over the relevant output and input markets

                        since at least the early 1990s shows there are significant barriers to

                        entry to the relevant market.

        29.     If not for the conditions imposed by the IFBB Family that effectively prohibit

 athletes from associating with bodybuilding organizations outside NPC, IFBB International, and

 IFBB Professional, many U.S. athletes would choose to compete both in events associated with

 members of the IFBB Family and in events associated with other bodybuilding organizations,

 such as plaintiff Nspire.

                                   FACTUAL BACKGROUND

                                       The Rise of the IFBB

        30.     As mentioned previously, bodybuilding’s profile in the United States rose

 dramatically in 1977 with the debut of Pumping Iron. Fortuitously, the movie appeared at an

 important time in the history of bodybuilding in America. The long-running feud between IFBB

 International and the Amateur Athletic Union (the “AAU”) over amateur bodybuilding in the

 United States was about to come to an end. The IFBB International won that contest and

 eventually achieved unrivaled domination in the American bodybuilding industry.

        31.     The war between the AAU and IFBB International did not start with IFBB

 International on top. To the contrary, an unincorporated committee of the AAU – a sprawling

                                                 18
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 19 of 60 PageID# 183




 organization that represented the United States on international amateur competition matters and

 regulated amateur sports generally – had run amateur bodybuilding in the United States since the

 1930s. The AAU committee – known as the “AAU National Weightlifting Committee” – was

 headed by Bob Hoffman, the founder of the York Barbell Corporation whose first love was

 weightlifting competitions. Thus, in the early days of U.S. bodybuilding, the physique contests

 run by Bob Hoffman always played second fiddle to the weightlifting contests held at the same

 venue, and even the bodybuilding contests put some emphasis on displays of athleticism. Bob

 Hoffman also believed in amateurism, so the centerpiece of the AAU’s event schedule, the Mr.

 America competition, was open to amateur athletes only.

        32.     IFBB International, on the other hand, was an upstart, founded in 1946 by two

 brothers, Ben and Joe Weider, in Montreal, Canada under the name “International Federation of

 Bodybuilders.” Joe Weider took the lead role in the business, and his vision for bodybuilding

 differed greatly from that of the AAU. He thought that athletes should be judged purely on the

 basis of their physiques and, thus, created judging rules where athletes were awarded points

 strictly for their musculature and posing ability, as opposed to the rules for judging AAU

 contests, where points were awarded for athletic ability, often causing a perfectly developed man

 to lose on the basis of characteristics not associated with his physique. According to a journalist

 and bodybuilder long associated with the IFBB Family, Rick Wayne, Joe Weider also was

 worried about the premature retirement of many of the sport’s greatest champions, so he and his

 brother set up IFBB International as an alternative to the AAU’s National Physique Committee

 and, thus, created a bodybuilding industry with “an institutionalized opportunity for these men to

 make money with their muscles without sacrificing their dignity.” To that end, he made a




                                                 19
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 20 of 60 PageID# 184




 professional contest, the Mr. Olympia, the centerpiece of the IFBB International’s annual

 schedule.

        33.     The promotional war between IFBB International and the AAU began in earnest

 around 1959, when IFBB International began organizing annual IFBB Mr. America contests in

 competition with the AAU’s Mr. America competitions. The IFBB experienced rapid growth

 from its founding through the 1960s. According to IFBB Professional’s website, “[b]y 1970, the

 IFBB would have Directors in over 50 countries throughout Australia, Asia, Europe, the Middle

 East, Africa, the Caribbean, and North, Central and South America.”

        34.     The 1970s also mark the era during which the IFBB family established hegemony

 over the international bodybuilding industry. The Brothers Weider were advised in 1966 by

 Oscar State, Secretary General of the International Weightlifting Federation (“IWF”) from 1960

 to 1974, that IFBB International should set itself up as an official sports federation, like the IWF

 or FIFA.     Following the advice of their ally, the Weider brothers began taking the steps

 necessary to set IFBB International up as a sports federation, including drafting and adopting the

 aforementioned Constitution. More importantly, two events happened in quick succession that

 enabled IFBB International to wrest power in the context of the international bodybuilding

 industry.

                a.      In 1967, an organization later known as the General Association of

                        International Sports Federations (“GAISF”) met for the first time.

                        GAISF was formed to recognize and ensure autonomy for one

                        international regulating federation per sport, and it provided an

                        inclusive forum that gave voice to organizations regulating both

                        Olympic and non-Olympic sports.



                                                 20
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 21 of 60 PageID# 185




                 b.     In 1968, the IWF relinquished its authority of international

                        bodybuilding, and IFBB International became the GAISF member

                        charged with overseeing international bodybuilding in 1971.

                        Because the GAISF rules forbade one member from interfering

                        with another, IFBB International no longer had to fear renewed

                        competition from the IWF in the context of the international

                        bodybuilding industry.

         35.     Despite IFBB International’s success on the international level, Ben and Joe

 Weider’s bodybuilding organization still was faced with a serious problem: IFBB International

 did not have an amateurs-only affiliate in the United States. IFBB International set up alliances

 with two existing amateurs-only bodybuilding organizations, but neither of these proved

 satisfactory.

         36.     To establish an amateurs-only affiliate in the United States, Ben and Joe Weider

 decided to mount a hostile takeover of AAU National Weightlifting Committee. According to

 the historian Randy Roach, IFBB International actually attempted to “infiltrate” the rival

 organization in October 1971. However, even though IFBB International was able to place some

 allies on the AAU National Weightlifting Committee’s board, Bob Hoffman retained power, and

 all attempts by the Weider brothers over the early 1970s to make the AAU National

 Weightlifting Committee the official U.S. affiliate of IFBB International came to naught.

         37.     The fates once again intervened in the form of the efforts to pass the Olympic and

 Amateur Sports Act of 1978 (“Amateur Sports Act”), which eventually established the United

 States Olympic Committee and largely divested the AAU of its direct governance role over

 amateur athletics in the United States. As early as 1976, the AAU realized that it would



                                                 21
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 22 of 60 PageID# 186




 eventually have to divest itself of its control over amateur sports, which would be delegated on a

 sport-by-sport basis to national governing bodies that, in turn, would operate under the guidance

 of the relevant international sports federation. Thus, according to the aforementioned Randy

 Roach, even before the passage of the Amateur Sports Act, “[w]eightlifting, power lifting and

 bodybuilding could begin operating as self-governing bodies, rendering the AAU to basically a

 liaison organization.”

        38.     By 1977, the AAU National Weightlifting Committee had formed separate

 committees for weightlifting, powerlifting, and bodybuilding (with the latter known as the “AAU

 National Physique Committee”). With the help of an ally named Ken Sprague, the Weider

 brothers were able to wrest control over the AAU National Physique Committee and seize Bob

 Hoffman’s dominant position in U.S. amateur bodybuilding industry. Specifically, Ken Sprague

 got himself named Secretary of the AAU National Physique Committee, wrote the rulebook that

 would govern the committee’s voting, secured for himself a number of powerful positions on its

 sub-committees, and took advantage of the fact that members whose chief interest lay in

 powerlifting were willing to barter their votes on the AAU National Physique Committee in

 exchange for Ken Sprague’s sponsoring of the 1977 and 1978 Powerlifting Championships. The

 AAU National Physique Committee voted in 1977 to incorporate and elected as its Chairman the

 aforementioned Jim Manion.

        39.     In 1977, Jim Manion was a recently retired bodybuilder (who competed in events

 from 1970 through 1975) and a loyal soldier within the Weider brothers’ organization.

 According to the Randy Roach’s Muscle, Smoke & Mirrors, Ken Sprague said: “We chose Jim

 Manion because Manion had attended all the early AAU/NPC organization meetings. Manion

 was inexperienced, but we felt we would be able to help him along. That sounds condescending,



                                                22
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 23 of 60 PageID# 187




 but it’s a fact of the rationale. The bottom line is that we saw Manion as a figurehead.” Jim

 Manion dutifully incorporated an entity named “The National Physique Committee of the AAU,

 Inc.” (the “AAU Corporation”) under Ohio law in March 1978. Therefore, as is noted in Muscle,

 Smoke & Mirrors, the stage was set for the AAU National Physique Committee to officially

 affiliate with IFBB International during the AAU’s National Convention in October of that year.

        40.     However, Randy Roach also notes that the “old guard” under Bob Hoffman was

 not going to go down without a fight. The so-called “east coast York crowd” had rallied around

 Mike Katz in the hopes that electing him Chairman of the AAU National Physique Committee

 would prevent AAU bodybuilding from becoming a historical relic.          The outcome of that

 election remained in doubt, despite Jim Manion’s appointment of a large number of at-large and

 athlete delegates “under the fine-print of the rulebook” (to borrow a phrase from Ken Sprague).

 Thus, according to Muscle, Smoke & Mirrors, Ken Sprague took matters into his own hands,

 pulling 15 votes randomly from the ballot box and replacing them with 15 marked for Jim

 Manion; Jim Manion was elected by a total of three votes.

        41.     In the end, Jim Manion was able to deliver the AAU Corporation to IFBB

 International as the American amateur bodybuilding affiliate of the AAU’s hated rival. IFBB

 International rewarded Jim Manion by naming him IFBB International’s Vice President for

 North America, and awarding him the IFBB International’s Certificate of Merit. The AAU

 Corporation eventually was officially renamed, becoming “National Physique Committee of the

 U.S.A., Inc.” – i.e., one of the named defendants in this case.

        42.     The AAU turned to the courts in an attempt to survive as a viable entity. On

 February 22, 1982, the AAU filed an antitrust suit against NPC in the U.S. District Court for the

 Eastern District of Tennessee, requesting an injunction forbidding NPC from punishing or



                                                  23
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 24 of 60 PageID# 188




 threatening to punish athletes participating in AAU-sanctioned contests with, among other

 things, “expulsion from [NPC] and exclusion from future competitions held at the regional,

 national and international levels[.]”

        43.     The District Court Judge sided with the AAU on its claim against NPC, issuing on

 June 3, 1982 a preliminary injunction order that forbade NPC and certain individuals, including

 Jim Manion, from imposing or threatening to impose “any sanctions upon or otherwise

 penalizing or punishing or interfering in any way with any persons on account of that person's

 participation in any physique contest sanctioned by the [AAU], whether such person participates

 as an athlete, a promoter, a sponsor or otherwise.”

        44.     The Court eventually entered a stipulated judgment making the preliminary

 injunctive relief permanent:

                The defendants including [NPC and several affiliated entities],
                Mike Kizer and James Manion agree to continue their stated policy
                of not imposing any sanctions upon or otherwise penalizing or
                punishing or threatening to impose any sanctions upon or
                otherwise penalizing or interfering in any way with any persons on
                account of that persons’ participation in any physique contest
                sanctioned by the [AAU] whether such person participates as an
                athlete, a promoter, a sponsor, or otherwise and will not condone,
                ratify, facilitate or permit such actions by any member or affiliate
                of the NPC for so long as the defendants (other than the NPC)
                remain as members or affiliates of the NPC. The defendants will
                take all steps reasonably necessary to remedy any violation of their
                stated policy as set forth above, which violation comes to their
                attention.

 Although the stipulated judgment refers only to the AAU, the IFBB International’s Bob

 Cicherillo recently acknowledged in his official capacity as “IFBB athletes’ rep[resentative]”

 during a February 16, 2016 podcast that IFBB International’s understanding is that the injunction




                                                 24
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 25 of 60 PageID# 189




 forbids NPC from punishing any amateur for competing in a contest sanctioned by another

 bodybuilding organization.

        45.     Although the AAU won that legal battle, it nevertheless still lost the war. The

 AAU’s membership among bodybuilders dwindled, and AAU-sanctioned bodybuilding contests

 became few and far between. Even the Mr. America Contest, the AAU’s flagship event, ended

 its run in 1999. On the other hand, NPC and IFBB International flourished. Complete victory in

 hand, the IFBB Family even renamed the “IFBB Mr. America Contest” the “NPC National

 Bodybuilding Championships” in 1978 to reflect the identity of its new United States affiliate.

                              Defending the IFBB Family’s Business

        46.     IFBB International came to completely dominate professional bodybuilding

 during the 1970s, while NPC established a similar stranglehold over amateur bodybuilding

 contests in the United States in the mid-1980s.

        47.     In the 1990s, however, a challenger to IFBB International’s monopoly on the

 professional bodybuilding industry emerged in the form of Vincent Kennedy McMahon, the

 owner of the wrestling organization then known as the World Wrestling Federation. Vince

 McMahon was, and is, a renowned promoter best known for taking a regional wrestling

 promotion and turning it into a nationwide powerhouse that eventually put all competing

 professional wrestling federations out of business.

        48.     In the lead-up to the 1990 Mr. Olympia competition Vince McMahon was putting

 together what became known as the World Bodybuilding Federation (“WBF”) in the hopes of

 knocking IFBB International off its top spot. Vince McMahon’s company, Titan Sports, began

 publishing a magazine called Bodybuilding Lifestyles, and it signed fifteen athletes to contracts

 that guaranteed each of them a salary far in excess of what he could legitimately expect to win

 through IFBB International’s prize money, including thirteen who had been plying their trade

                                                   25
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 26 of 60 PageID# 190




 under the watchful eyes of the Weider brothers. Vince McMahon also paid $5,000 to secure a

 sponsor’s booth at the 1990 Mr. Olympia contest.

        49.    On September 15, 1990, the WBF started off with a bang at the Arie Crown

 Theatre in Chicago, Illinois before 4,600 fans taking in the Mr. Olympia contest. As was the

 custom then, sponsors were given the opportunity to give a live pitch to the audience. Vince

 McMahon sent Tom Platz, a professional bodybuilder reported to be one of Joe Weider’s

 favorite mentees, on stage to proclaim: “I have a very important announcement to make. We at

 Titan Sports are proud to announce the formation of the World Bodybuilding Federation. And

 we are going to kick the IFBB's ass!” The doors to the lobby opened, and alluring women

 wearing sashes embedded with the Bodybuilding Lifestyles logo filed into the theatre handing out

 advertising that announced the formation of the WBF, and claimed that the upstart would change

 the face of the bodybuilding world forever with “dramatic new events and the richest prize

 money in the history of the sport[.]” Meanwhile, Vince McMahon’s employees took advantage

 of the distraction to slip lucrative contracts under the hotel room doors where certain other

 Mr. Olympia hopefuls were staying.

        50.    Joe Weider immediately took steps to drive the WBF out of business. Because

 Vince McMahon was too powerful to be confronted directly, Joe Weider focused his efforts on

 controlling IFBB International’s professional athletes, taking some actions that were nakedly

 anti-competitive in nature. As IFBB International had done to amateur athletes who dared

 associate with the AAU in the 1970s and early 1980s, the Weider Brother’s organization

 blackballed professionals who signed with the WBF from ever returning to compete for IFBB

 International. Thus, if the WBF failed, those who accepted a contract from Vince McMahon




                                               26
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 27 of 60 PageID# 191




 would never work in American bodybuilding again. Tom Platz, once Joe Weider’s favorite, was

 banned from IFBB International for life.

        51.     In the over-heated manner typical of IFBB International, Joe Weider made clear

 that the bodybuilders who dared try to maximize their earnings were “dead” to him and his

 bodybuilding organization. At a May 18, 1991 contest run by IFBB International, the promoter

 set out on the stage thirteen tombstones, each inscribed with the name of one of the individuals

 who had defected to the WBF. As dramatic music played, “loyal” bodybuilders destroyed the

 tombstones with sledgehammers. Thus, the very man who took public credit for establishing

 professional bodybuilding as a way for the best athletes to earn a living at their sport of choice

 had turned on those athletes who decided to maximize their earning potentials outside the IFBB

 Family.

        52.     But the WBF was not destined for a long run. Vince McMahon’s business plan

 was to incorporate some of the more theatrical elements of professional wrestling, then market

 bodybuilding competitions to a mass audience through pay per view television. However, to

 borrow a phrase from “The Definitive History of the WBF” published in The Pro-Wrestling

 Chronicle, “[i]f professional wrestling is a niche sport, professional bodybuilding is a sport that

 appeals to so few that a word doesn’t even exist to describe it. In 1990, the only television

 coverage of bodybuilding to speak of was a show called American Muscle that ran roughly once

 a month on ESPN – at 3am.” There was no mass audience for professional bodybuilding

 contests, and the WBF’s pay per view broadcasts failed to draw an audience, just like NBC’s and

 CBS’s doomed network broadcasts of bodybuilding contests did in the 1980s. Thus, the WBF

 folded in July 1992 after a run that lasted less than two years.




                                                  27
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 28 of 60 PageID# 192




        53.     Of course, the thirteen “disloyal” athletes found themselves in a bit of a bind.

 Vince McMahon pled their case to Joe Weider, who “took mercy” on them. He initially offered

 to reaccept the WBF bodybuilders into the IFBB Family for a “mere” $25,000 fine, but would

 later settle on a penalty of 10% of the bodybuilder’s annual WBF earnings – an amount

 substantially higher than $25,000 for certain athletes. According to the article “The Definitive

 History of the WBF,” the IFBB Family “welcomed” the returning athletes back in a manner

 emphasizing the gravity of their betrayal and the benevolence of Joe Weider’s dictatorship:

 “When the stage lights faded on at the Night of Champions XV at Manhattan’s Beacon Theatre

 [on May 22, 1993], Dorian Yates stood in the center of the stage dressed as a preacher. Caskets

 surrounded him bearing the names of the WBF athletes that had last appeared on tombstones at

 the same annual event two years prior. As Yates elevated his arms to the heavens, the returning

 bodybuilders from the WBF raised from the dead and pulled themselves out from the coffins.

 On stage to greet them [were bodybuilders] who had remained loyal to the IFBB. The two sides

 embraced in an emotional moment as the lyrics of the song ‘Welcome Back’ reverberated

 through the theatre.”

                                  The Business of Bodybuilding

        54.     Although bodybuilding is a niche sport that does not appeal to a mass audience,

 that does not mean that there is no money to be made in the sport. The New York Times

 published an article entitled “There’s gold in pumping iron” on December 3, 1989, noting that

 the equipment manufacturer affiliated with the Weider brothers had $185 million dollars in U.S.

 sales for the fiscal year ending in May 1989.

        55.     NPC, IFBB International, and IFBB Professional officially make money through

 the collection of membership fees from athletes and sanctioning fees from promoters. NPC

 currently charges amateur athletes $120 to join, and IFBB Professional charges professional

                                                 28
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 29 of 60 PageID# 193




 athletes $300 (for athletes who pay their dues by January 15) or $500 (for athletes who pay after

 January 15) in annual membership fees. The NPC and IFBB each charge promoters $3,000 for

 amateur events and from $3,500 to $20,000 per professional contest (with separate fees charged

 for each division in a contest, i.e., bikini, physique, figure, or bodybuilding) in sanctioning fees,

 and the organizations also typically demand approximately 75% of any revenue derived from

 national sponsors. However, that money is only the tip of the iceberg because the IFBB Family’s

 empire has long extended far beyond the regulation and sanctioning of bodybuilding contests.

        56.     Since the founding of IFBB International, businesses associated with the

 bodybuilding organization or its leaders also published various magazines where the Weider

 brothers would (i) market the various supplements, weight-training equipment, and other items

 that companies owned or controlled by them manufactured; and (ii) promote the fitness services

 provided by their operations. Moreover, because the media controlled by the IFBB Family were

 the “journals of record” within the bodybuilding community, individuals and businesses who

 wanted to advertise in the Weider brothers’ magazines often had to formally or informally agree

 to deal exclusively with the IFBB Family or its associated businesses.

        57.     As time passed, the Weider brothers grew old and passed the torch of their empire

 to the aforementioned Jim Manion, who is President of both defendant IFBB Professional and

 defendant NPC as well as the Vice President for North America for defendant IFBB

 International. His official biography on IFBB Professional’s webpage describes his job duties as

 follows: “Jim oversees the day-to-day management and operation of the IFBB Pro League and is

 therefore intimately involved in formulating the annual calendar of events; in negotiating

 contracts with event promoters; in keeping track of hundreds of professional athletes, judges and

 other officials; and in ensuring the IFBB Pro Rules are followed by all members. In addition,



                                                  29
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 30 of 60 PageID# 194




 Jim regularly attends most professional competitions. All of this is apart from his immense

 duties and responsibilities as President of the NPC.” Moreover, that biography emphasizes that

 Jim Manion has inherited Joe Weider’s penchant for discipline, stating that the “The Chairman”

 (Jim Manion’s preferred nickname) “does not suffer fools lightly.” He also retains Joe Weider’s

 insistence on absolute loyalty, declaring during a November 12, 2007 interview on Pro

 Bodybuilding Radio that disloyalty to the IFBB Family is like marital infidelity, comparing an

 athlete seeking to return to the IFBB Family after competing for another bodybuilding

 organization to a husband who asks his wife to take him back after a year spent pursuing another

 woman.

        58.     As was true under the Weider brothers’ reign, the IFBB Family empire under Jim

 Manion extends far beyond the mere sanctioning of bodybuilding contests. Businesses owned or

 controlled by Jim Manion – including NPC Active Wear, NPC News Online, and DSI – are

 involved in publishing, clothes manufacturing, and nutritional supplement distribution and

 marketing.    These companies are highly influential within the United States bodybuilding

 community because they serve as the main conduit between athletes (who are seeking

 sponsorship) and fitness industry businesses (who are seeking athlete endorsements or other

 publicity).

        59.     The IFBB Family’s empire has grown under Jim Manion’s control. According to

 the aforementioned “There’s gold in pumping iron” article in the New York Times, the Weider

 brothers’ empire was taking in over $300 million in annual U.S. revenue by the late 1980s.

 Upon information and belief, the revenue obtained by the IFBB Family and its related businesses

 has grown substantially to the present.




                                               30
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 31 of 60 PageID# 195




        60.    Likewise, the IFBB Family’s control of the bodybuilding industry has grown

 since Jim Manion became leader.

               a.     IFBB Professional so dominates professional bodybuilding in

                      America that people in the industry understand the term to “go

                      pro” as a bodybuilder in the United States to mean to become an

                      “IFBB Pro.”     Moreover, upon information and belief, contests

                      sanctioned by IFBB Professional bring in 95% of the revenue from

                      professional bodybuilding events in the United States and 75% of

                      the revenue from professional bodybuilding events across the

                      globe.

               b.     NPC      and   IFBB   International   dominate   major    amateur

                      bodybuilding events in the United States. At least eighty percent

                      of all amateur bodybuilding athletes in the United States are

                      associated with NPC, and the IFBB Family promotes over 50

                      percent (amounting to approximately 300 events annually) of all

                      amateur bodybuilding events in the United States, including the

                      vast majority of events held in larger venues where attendance and

                      sponsorship revenues are highest. There is no other bodybuilding

                      organization that holds more than a few dozen competitions in the

                      United States, and those are typically at smaller venues such as

                      high schools and middle schools.

        61.    Thus, the IFBB Family has achieved monopoly power in the output markets of

 regulating, sanctioning, and promoting worldwide professional bodybuilding contests (that it



                                              31
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 32 of 60 PageID# 196




 confers on IFBB Professional) and regulating, sanctioning, and promoting major amateur

 bodybuilding contests in America (that it confers on NPC).          It has not maintained those

 monopolies by putting on exceptional shows or taking good care of its athletes. Rather, the

 IFBB Family maintains dominance by “strong arming” athletes and businesses into accepting

 anti-competitive exclusive-dealing contracts and/or de facto exclusive-dealing contracts that

 destroy all other bodybuilding organizations’ ability to compete.

        62.      The IFBB Professional Rules contain a provision forbidding athletes from

 competing in non-sanctioned events, which reads:

                 Any Member, whether Athlete, Judge or Official, who participates
                 in a competition not approved or sanctioned by the Pro League
                 may be fined, suspended or expelled. Participation includes, but is
                 not limited to, competing, guest posing, giving a seminar, judging,
                 officiating, promoting, endorsing or otherwise taking part in any
                 capacity whatsoever in a non-approved or nonsanctioned
                 competition. An Athlete under a sponsorship contract may
                 represent his or her sponsor at a display booth, regardless of
                 whether or not the competition is sanctioned by the Pro League.
                 However, the Athlete may not otherwise participate in the
                 competition.

 IFBB Prof’l, IFBB Professional League Rules § 1.5 (2009 ed.). Those official rules also contain

 a provision forbidding athletes from maintaining membership in any other bodybuilding

 organization:

                 Once accepted as a Member of the Pro League, no Athlete, Judge
                 or Official will hold membership in any other professional
                 bodybuilding, fitness or figure organization; nor will that Member
                 participate in, promote or endorse in any capacity whatsoever their
                 activities, failing which the Member may be fined, suspended or
                 expelled.

 Id. at § 1.6. IFBB Professional also issues occasional public notices reminding its members of

 the required loyalty, such as the following:


                                                 32
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 33 of 60 PageID# 197




                                      33
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 34 of 60 PageID# 198




 Thus, IFBB Professional requires bodybuilding events be certified both by it and entities like

 NPC that are the national amateur organizations affiliated with IFBB International, even though

 IFBB Professional and NPC are legally separate entities that purportedly act independently.

 Moreover, IFBB Professional’s insistence on near-absolute loyalty from its athletes stands in

 stark contrast to Nspire’s “contractless” vision for professional bodybuilding, which would allow

 athletes to compete anywhere, at any time, and for anyone.

        63.     The IFBB International Constitution requires all members to take a similar oath of

 allegiance. Article 19.4.7 of that document provides:

                Any athlete or official who participates in a competition or event
                not approved or sanctioned by the IFBB, may be fined, suspended
                or expelled. The amount of the fine as well as the suspension
                period will be decided by the IFBB Disciplinary Commission,
                within the maximum limit as established by the Executive
                Council. Once the suspension has been completed and before
                participating in an IFBB competition or event, the athlete must be
                drug tested at his or her own expenses.

                In special circumstances, the IFBB Disciplinary Commission may
                recommend to the Executive Council the expulsion of the athlete
                or the official. Participation shall include, but shall not be limited
                to, competing, guest posing, giving a seminar, lecture or similar
                presentation, judging, officiating, allowing the use of one’s name
                and/or likeness for promotional purposes, and/or taking part in a
                non-IFBB sanctioned competition or event in any other way,
                shape, or form.

 IFBB Int’l, Constit., art. 19.4.8. Article 19.4.8 further states:

                Once recognized by the IFBB pursuant to the terms and conditions
                of the Constitution and Rules, or pursuant to the terms and
                conditions of the Constitution and rules of a National, Regional or
                Continental affiliate, no athlete, judge, official, administrator or
                other Member shall hold membership in any other bodybuilding
                and/or fitness organization; nor shall that Member participate in



                                                   34
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 35 of 60 PageID# 199




                or promote, in any way, shape or form, their activities, failing
                which the Member may be fined, suspended or expelled.

 Id. at art. 19.4.8 (emphasis added). Thus, IFBB International imposes restraints on amateur

 athletes who are forbidden from accepting prize money for winning or placing highly at

 bodybuilding contests.

        64.     Although careful not to promulgate a similar rule specific to its organization,

 bodybuilders who join NPC unknowingly bind themselves to IFBB International’s loyalty rules.

 Under Article 9.2 of IFBB International’s Constitution, “members of National, Regional and

 Continental Federations, by virtue of their acceptance into the IFBB family, agree to be bound

 by the Constitution and Rules.” IFBB Int’l, Constit., art. 9.2 (emphasis added). Similarly,

 Article 9.3 provides:

                Athletes, judges, administrators, and other officials become
                Members of the IFBB by virtue of their association with their
                National, Regional or Continental Federation pursuant to the terms
                and conditions as set out in the constitution and rules of the
                respective National, Regional or Continental Federation.

 Id. at art. 9.3 (emphasis added). Thus, NPC is able to point to the loyalty provisions in IFBB

 International’s Constitution when warning its athletes to avoid “unsanctioned” contests,

 accomplishing this through a “warning notice” posted on IFBB International’s official website.

 For instance, on September 9, 2015, IFBB International issued the following warning on its

 website:

                                      WARNING NOTICE

                “The IFBB Executive Council, in its 5th November 2015 meeting
                in Benidorm, Spain – on recommendation of the IFBB Disciplinary
                Commission, as per article 14.8.4 of the current IFBB Constitution
                – has deliberated the expulsion of Mr. Timothy Lee Thompson
                from the IFBB, due to his serious breach of provision 19.4.8 of the
                current IFBB Constitution.

                                                35
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 36 of 60 PageID# 200




               The IFBB specifies that athletes, judges and officials who will
               participate in Mr. Timothy Lee Thompson’s organization
               competitions, will commit a violation of the current IFBB
               Constitution (article 19.4.7) and they will be liable to disciplinary
               measures.”

               IFBB Legal Commission

 Moreover, NPC also enforces its rules selectively. For instance, during a recent podcast, David

 Baye, the online editor for the IFBB Family-affiliated magazine, Muscular Development, stated

 that the only NPC athlete who needs fear IFBB International’s loyalty rules is “some famous

 person that a million people know[.]” However, he also emphasized that competing in contests

 offering cash prizes held by another bodybuilding organization could become an issue if that

 amateur athlete wanted to compete in future NPC amateur competitions or “go pro” within the

 IFBB Family. In fact, NPC automatically bans from its contests any athlete who has ever:

 “(i) Received any cash payment for competing in a physique contest; Or, (ii) Competed in a

 physique contest for prize money.” Accordingly, upon learning that an NPC-affiliated athlete

 has competed in another bodybuilding organization’s professional contest, NPC regularly issues

 letters informing him or her that he or she is no longer eligible to compete at NPC-sanctioned

 events, but giving the athlete “the one time option” of returning to the NPC, while emphasizing:

 “Should you decide to again compete in a contest for cash or cash prizes after we accept this

 notification, you will lose your amateur eligibility permanently with NPC.”

        65.    The loyalty requirements in IFBB International’s Constitution and the dominance

 of IFBB Professional in the worldwide professional bodybuilding market assists its IFBB Family

 member, NPC, to achieve monopoly power over major amateur bodybuilding competitions in the

 United States and monopsony power over American elite amateur bodybuilding athletes. This is

 so because there is one and only one way to be invited from the NPC to join IFBB Professional:


                                                36
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 37 of 60 PageID# 201




 An amateur athlete must win or place highly at a certain NPC-sanctioned amateur bodybuilding

 competition – i.e., the USA Championships, the National Championships, the Junior USA

 Championships, the IFBB North American Championships, or the Team Universe

 Championships – then apply for a “pro card” and hope that Jim Manion will approve the request.

 As a result, amateurs with aspirations of turning pro must limit themselves to NPC-sanctioned

 events relatively early in their careers, or risk watching all their hard work come to naught

 because Jim Manion questions their loyalty.

        66.      Furthermore, NPC’s monopsony power over the input market for U.S.-based elite

 amateur bodybuilding athletes enables IFBB Professional to maintain its monopoly power over

 the output market for professional bodybuilding worldwide.           For instance, during the

 aforementioned November 12, 2007 Pro Bodybuilding Radio program, Jim Manion was asked

 why it is so difficult for Vince McMahon and other would-be competitors in the market for

 professional bodybuilding contests to compete against IFBB Professional. He responded: “. . .

 You need a feeder organization, and the NPC is a feeder organization to the IFBB. I think I

 heard you say earlier that [the NPC is] responsible for 89% of the pros today. I mean, [NPC is]

 the NCAA of bodybuilding. Without the NCAA, there would be no pro football players, no pro

 basketball players. So I kind of like to call the NPC the NCAA of bodybuilding.”

              The IFBB Family’s Loyalty Rules Are Unreasonable and Unnecessary

        67.      The IFBB Family’s interlocking web of exclusivity arrangements is patently

 anticompetitive and unreasonable. It prevents many bodybuilding athletes from earning a living

 at their sport of choice, or at very least delays their ascension into the ranks of professional

 bodybuilding. The arrangements also stymy the ability of bodybuilding organizations outside

 the IFBB Family to compete effectively for the services of elite amateur bodybuilding athletes,



                                               37
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 38 of 60 PageID# 202




 which of course only adds to the restraint on those athletes’ ability to practice their trade and

 earn a living.

         68.      The imposition of loyalty rules on amateur bodybuilders represents an

 unreasonable restraint of trade that is unnecessary for IFBB International, NPC, or IFBB

 Professional to thrive. By their own accounts, each member of the IFBB Family has flourished

 over recent decades, despite the fact that NPC and/or other national affiliates of IFBB

 International have on at least three occasions retreated when faced with legal challenges to their

 ability to enforce such loyalty rules.

         69.      One occasion was the preliminary injunction and stipulated order (making that

 provisional remedy permanent) entered by the Eastern District of Tennessee in 1982.

         70.      A more recent instance stems from a complaint filed with the Swedish National

 Competition Authority against the Swedish Bodybuilding and Fitness Federation (“SKKF”), the

 only amateur bodybuilding organization recognized by IFBB International in that nation in

 October 2013.      In that matter, a nutritional supplement manufacturer, which occasionally

 sponsors its own bodybuilding contests, filed a complaint focusing, inter alia, on the SKKF rule

 permitting it to fine or suspend its members who compete or otherwise participate in contests

 that are not approved or authorized by SKKF or IFBB International. Although SKKF initially

 argued that its loyalty rule was necessary to ensure that its members are free from doping, the

 investigation closed on May 28, 2014 after the SKKF formally agreed that athletes, coaches,

 officials and judges will no longer risk suspension or fines for participating in unsanctioned

 competitions.

         71.      The most recent example involved NPC and the founder of Nspire, Timothy Lee

 Thompson. As part of a settlement of a recent lawsuit, NPC and Jim Manion agreed that



                                                38
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 39 of 60 PageID# 203




 amateur athletes affiliated with NPC could compete at Nspire-sanctioned events without fear of

 punishment, posting the following on NPC’s official webpage:                “Mr. Manion, NPC,

 Mr. Thompson and Nspire have also confirmed that all athletes, sponsors and promoters can

 compete and/or do business freely with NPC, Nspire, or any other amateur bodybuilding, fitness

 and physique organization without any negative repercussions or fear of retribution from Mr.

 Manion, NPC, Mr. Thompson and/or Nspire.”

         72.     NPC and other members of the IFBB Family ignore these commitments, however,

 as demonstrated in the continued presence of the loyalty provisions in IFBB International’s

 Constitution and the enforcement of those loyalty rules by members of the IFBB Family,

 including as against Nspire.

                                      Injury to Competition

         73.     IFBB Professional’s monopoly over the output market for the regulation,

 sanctioning, and promoting of professional bodybuilding contests and NPC’s monopoly over the

 output market for the regulation, sanctioning, and promoting of major amateur bodybuilding

 contests and monopsony over the input market for elite amateur athletes who are primed to be

 elevated to the ranks of professional bodybuilders injure competition in at least three ways.

         74.     First, the combination of IFBB International’s loyalty rules and NPC’s refusal to

 allow athletes who earned money from or competed for cash prizes in contests sanctioned by a

 bodybuilding organization outside the IFBB Family improperly denies athletes an opportunity to

 earn a living at their sport of choice. It also means that NPC-affiliated amateurs have to toil

 longer in the amateur ranks before making it to the professional level than they would if those

 rules did not exist.

         75.     Second, professional bodybuilders earn less in prize money than they would if

 there was viable competition to IFBB Professional in the output market for the regulation,

                                                 39
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 40 of 60 PageID# 204




 sanctioning, and promoting of professional bodybuilding contests. Upon information and belief,

 the percentage of revenue going to professional bodybuilders from a bodybuilding contest is far

 less than the percentage that goes to athletes in the so-called “Big Four” professional sports

 leagues – i.e., the National Football League, the National Basketball League, the National

 Hockey League, and Major League Baseball. Furthermore, the prize money awarded at IFBB

 International’s professional competitions shot up when the WBF competed briefly.

        76.    Third, NPC puts on lesser quality shows when not faced with viable competitors

 in the market for major amateur bodybuilding contests. Thus, NPC provides free entry and

 allows fans “meet and greet” access to large groups of professional bodybuilders when

 “counterprograming” against Nspire shows, but does not do so under other circumstances. Thus,

 bodybuilding enthusiasts are deprived of top-quality shows due to NPC’s monopoly and

 monopsony powers.

                                        Nspire’s Injury

        77.    After becoming disillusioned with Jim Manion’s leadership, Timothy Lee

 Thompson left his position as NPC’s chairman in Texas and formed Plaintiff Nspire in 2015. In

 response, NPC, IFBB International, and IFBB Professional have done everything in the IFBB

 Family’s power to interfere with Nspire’s attempt to create a new bodybuilding league.

        78.    One example of the IFBB Family’s willful attempts to maintain their monopolies

 over the output markets for the regulation, sanctioning, and promoting of professional contests

 across the globe and major amateur bodybuilding contests in the United States as well as their

 monopsony over the input market for elite amateur bodybuilders in the United States is their

 interference with the 2015 Fitness Space City Championship (the “Space City Event”) in

 Houston, Texas. Specifically, the IFBB Family attempted to destroy Nspire as a competitor by:



                                               40
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 41 of 60 PageID# 205




             a.    Announcing in late-October 2015 that NPC also would be hosting

                   an event – marketed as the “Texas Cup” – on the same day and in

                   the same city in which the Space City Event was scheduled to take

                   place. The IFBB Family (i) stressed that Nspire’s Space City

                   Event was not an NPC-sanctioned event; and (ii) published the

                   following statement on its website in early November 2015 under

                   the heading “WARNING NOTICE”:

                          The IFBB Executive Council, in its 5th November 2015
                          meeting in Benidorm, Spain – on recommendation of the
                          IFBB Disciplinary Commission . . . has deliberated the
                          expulsion of Mr. Timothy Lee Thompson from the IFBB,
                          due to his serious breach of provision 19.4.8 of the current
                          IFBB Constitution.

                          The IFBB specifies that athletes, judges and officials who
                          will participate in Mr. Timothy Lee Thompson’s
                          organization competitions, will commit a violation of the
                          current IFBB Constitution (article 19.4.7) and they will be
                          liable to disciplinary measures.

                          - IFBB Legal Commission

             b.    The prominent warning to NPC athletes, judges, and officials that

                   they would be subject to fines, suspension, or expulsion if they

                   participated in an Nspire-organized competition had the effect of

                   limiting and reducing the number and quality of athletes

                   participating in Nspire’s Space City Event.

             c.    Upon information and belief, the IFBB Family also caused one of

                   the sponsors of the Space City Event to pull out of it. Specifically,

                   Nspire had arranged with Pro Tan, a division of Performance

                   Brands, Inc. to provide tanning services for competitors at the


                                            41
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 42 of 60 PageID# 206




                       Space City Event. Pro Tan subsequently requested that Nspire not

                       use the Pro Tan Logo in conjunction with the Space City Event,

                       then went on to inform Nspire that Pro Tan was “unable to spray”

                       competitors at the Space City event. Pro Tan instead provided

                       spray tan services at the NPC-sponsored Texas Cup.

               d.      NPC’s anticompetitive activities dramatically reduced attendance

                       at the Space City Event, and Nspire consequently suffered a net

                       loss of approximately $70,000 on the event.

               e.      Furthermore, the IFBB Family through their agents, employees, or

                       allies, including the aforementioned Bob Cicherillo on a podcast,

                       trumpeted the alleged failure of Nspire’s Space City Event,

                       insinuated that Nspire is mismanaged, and bragged that Nspire

                       would soon be out of business.

        79.    There also have been other examples of businesses associated with IFBB and

 NPC refusing to associate with Nspire, such as:

               a.      Keith Thomas, the founder and/or chief executive officer of a

                       nutritional supplement business, informing his employees to avoid

                       associating his company’s brands with Nspire on social media

                       because Mr. Thomas’s business is “a IFBB / Loyal organization.”

               b.      A leading bodybuilding magazine, Muscle & Fitness, announcing

                       that it could no longer work with an athlete who signed with

                       Nspire “since we are with the NPC.”




                                                   42
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 43 of 60 PageID# 207




               c.      A venue in Kawai, Hawaii that agreed to rent its facility to Nspire

                       later recanted upon information and belief at the request of NPC,

                       IFBB    International,    IFBB   Professional,   or   an   agent   or

                       spokesperson of one of these entities.

        80.    Upon information and belief, members of the IFBB Family have used

 intimidation, threats, punishment, harassment, and/or coercion to (i) prevent vendors and

 sponsors from associating with Nspire; and (ii) cause certain physique athletes who left NPC

 and/or IFBB Professional to join Nspire, including Andreanna Calhoun and Logan Franklin, to

 return to NPC and/or IFBB Professional.

        81.    The loss of talented, up-and-coming athletes, important sponsors, and access to

 proper venues and well-regarded media outlets will have a significant long-term negative

 financial impact on Nspire and other bodybuilding organizations in the relevant market. Thus,

 the IFBB Family’s anticompetitive activities harm Nspire’s ability to regulate, promote, and

 sanction major amateur and professional bodybuilding competitions, and to derive income from

 associated activities. Furthermore, the IFBB Family’s conduct is causing a potential imminent

 exclusion of Nspire from the relevant market.

                                     CAUSES OF ACTION

                                            Count I
                                  Unlawful Restraint of Trade
                          (Violation of Section 1 of the Sherman Act)
                         NPC, IFBB International, IFBB Professional

        82.    Plaintiff restates and re-alleges the preceding paragraphs of the First Amended

 Complaint.

        83.    NPC, IFBB International, and IFBB Professional have entered unlawful

 arrangements that (i) unreasonably restrain elite amateur bodybuilders from earning money in


                                                 43
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 44 of 60 PageID# 208




 connection with non-NPC-sanctioned bodybuilding events while retaining their amateur status

 within the IFBB Family; and (ii) unreasonably prevent competition for the services of such elite

 amateur bodybuilders in their trade.

        84.     Specifically, NPC, IFBB International, and IFBB Professional have entered into a

 series of anticompetitive agreements with each other wherein (i) IFBB Professional maintains a

 policy that requires U.S.-based amateurs to win or place highly at certain NPC-sponsored

 amateur competitions in order to join IFBB Professional; (ii) IFBB International has promulgated

 rules that automatically subject NPC’s athletes without their knowledge to the loyalty rules

 contained in IFBB International’s Constitution; (iii) NPC maintains a policy that excludes

 bodybuilders who compete for money in competitions held by bodybuilding organizations

 outside the IFBB Family from competing in NPC-sanctioned events; and (iv) NPC maintains a

 practice where it will point out the loyalty rules in IFBB International’s Constitution to prevent

 amateur athletes from participating in contests run by competing bodybuilding organizations. In

 combination, the rules, policies, and practices force all U.S.-based amateur bodybuilders who

 want to become an IFBB Professional athlete to compete exclusively at NPC-sanctioned events

 and to forego all potential income from bodybuilding contests until they are elevated to the ranks

 of professional bodybuilders within the IFBB Family

        85.     In addition, NPC, IFBB International, and IFBB Professional have used that web

 of interlocking rules, policies, and practices to prevent other bodybuilding organizations from

 competing for the services of elite amateur bodybuilders who could compete either in major

 amateur competitions or in professional competitions sanctioned, regulated, and/or promoted by

 that rival bodybuilding organization.




                                                44
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 45 of 60 PageID# 209




        86.     The web of interlocking arrangements constitutes an unreasonable restraint of

 trade under the rule of reason. The rules, policies, and practices of the individual members of the

 IFBB Family substantially restrain and injure competition in the market and will continue to do

 so.

        87.     NPC has market power in the input market for U.S.-based elite amateur

 bodybuilding athletes reasonably capable of turning professional and the output market for the

 regulation, sanctioning, and promoting of major amateur bodybuilding events in the United

 States, while IFBB Professional has monopoly power over the output market for the regulation,

 sanctioning, and promoting of professional bodybuilding events worldwide. Prohibiting elite

 amateur bodybuilders from earning a living at their craft and preventing non-IFBB Family

 bodybuilding organization from competing for their services harms the quality of NPC-

 sanctioned events. It also reduces the market output as a whole by decreasing the number of

 professional bodybuilders.

        88.     The interlocking arrangements of NPC, IFBB Professional, and IFBB

 International are not necessary for the production of major amateur or professional bodybuilding

 competitions, or the achievement of any pro-competitive objective.

        89.     Competition is hurt by the interlocking arrangements that NPC, IFBB

 Professional, and IFBB International have orchestrated because (i) NPC shows are of lower

 quality than they would be if competition existed in the output market of major amateur

 bodybuilding events; (ii) prize money available at IFBB Professional competitions is lower than

 it would be if competition existed in the output market of professional bodybuilding events

 and/or competition in the input market for elite amateur bodybuilders (since IFBB Professional

 would have to offer higher prizes to attract elite amateur bodybuilding athletes); and



                                                 45
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 46 of 60 PageID# 210




 (iii) bodybuilders could earn a living from their sport in greater numbers and with greater speed

 if competition existed in the input market for elite amateur bodybuilders.

        90.     Nspire has suffered and will continue to suffer antitrust injury to its business by

 reason of the continuation of the IFBB Family’s unlawful combination or conspiracy because the

 interlocking arrangements of NPC, IFBB Professional, and IFBB International have harmed

 Nspire’s ability to recruit athletes and put on competitions.

                                           Count II
              Monopolization of Output Market for Major Amateur Competitions
                         (Violation of Section 2 of the Sherman Act)
                                             NPC

        91.     Plaintiff restates and re-alleges the preceding paragraphs of the First Amended

 Complaint.

        92.     As detailed above, the relevant market is the output market for the regulation,

 sanctioning, and promoting of major amateur bodybuilding competitions in the United States.

        93.     NPC has acquired a monopoly over the market for major amateur bodybuilding

 competitions in the United States, in that it regulates, sanctions, and/or promotes over 50%

 (amounting to approximately 300 events annually) of all amateur bodybuilding events in the

 United States, including the overwhelming majority of events held in larger venues where

 attendance and sponsorship revenues are highest. There is no other bodybuilding organization

 that holds more than a few dozen competitions in the United States, and those are typically non-

 major – i.e., held at smaller venues such as high schools and middle schools.

        94.     NPC has willfully acquired their monopoly over the relevant market by:

                a.      Expelling or threatening to expel amateur athletes who compete

                        outside the NPC from that organization, while simultaneously




                                                  46
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 47 of 60 PageID# 211




                      making NPC membership a necessary requirement to join the

                      ranks of IFBB Professional athletes.

               b.     Requiring athletes, judges, vendors, and sponsors to work

                      exclusively with NPC, either through formal agreements or by

                      threatening that Jim Manion’s highly influential businesses will cut

                      ties with those athletes, judges, vendors, and sponsors who

                      associate   or   do   business   with    competing    bodybuilding

                      organizations.

               c.     Engaging in predatory conduct – such as the use of intimidation,

                      threats, punishment, harassment, and/or coercion – specifically

                      aimed at athletes, judges, vendors, and sponsors who chose to

                      associate with Nspire to cause those persons to disassociate from

                      Nspire.

               d.     Having agents, employees, and/or allies of NPC insinuate that

                      Nspire is mismanaged and will soon be out of business.

        95.    Competition is hurt by NPC’s monopoly over the output market for the

 regulation, sanctioning, and promoting of major amateur bodybuilding competitions in the

 United States because NPC shows are of lower quality than they would be if competition existed

 in the output market of major amateur bodybuilding events.

        96.    As a direct and proximate result of wrongdoing by NPC, as alleged herein, Nspire

 has been injured in its business, including those involving money damages, and likely will be

 driven from the relevant market altogether if NPC is not enjoined from engaging in its

 anticompetitive conduct.



                                               47
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 48 of 60 PageID# 212




                                        Count III
                Monopsonization of Input Market for Elite Amateur Athletes
                       (Violation of Section 2 of the Sherman Act)
                                           NPC

        97.    Plaintiff restates and re-alleges the preceding paragraphs of the First Amended

 Complaint.

        98.    As detailed above, the relevant market is the input market for U.S.-based elite

 amateur bodybuilders.

        99.    NPC has acquired a monopsony on the market for elite U.S.-based amateur

 bodybuilders, in that well over 80% of the U.S.-based bodybuilding athletes with a reasonable

 expectation of making a living in bodybuilding are NPC members.

        100.   NPC has willfully acquired their monopsony over the relevant market by:

               a.        Expelling or threatening to expel elite amateur athletes who

                         compete outside the NPC from that organization, while

                         simultaneously making NPC membership a necessary requirement

                         to join the ranks of IFBB Professional athletes.

               b.        Requiring elite amateur athletes to work exclusively with NPC,

                         either through formal agreements or by threatening that Jim

                         Manion’s highly influential businesses will cut ties with those

                         athletes who associate or do business with competing bodybuilding

                         organizations.

               c.        Engaging in predatory conduct – such as the use of intimidation,

                         threats, punishment, harassment, and/or coercion – specifically

                         aimed at athletes who chose to associate with Nspire to cause those

                         individuals to disassociate from Nspire.


                                                  48
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 49 of 60 PageID# 213




                d.     Having agents, employees, and/or allies of NPC insinuate that

                       Nspire is mismanaged and will soon be out of business.

        101.    Competition is hurt by NPC’s monopsony over the input market for U.S.-based

 elite amateur bodybuilders because (i) prize money available at IFBB Professional competitions

 is lower than it would be if competition existed in the output market of professional

 bodybuilding events and/or competition in the input market for elite amateur bodybuilders (since

 IFBB Professional would have to offer higher prizes to attract elite amateur bodybuilding

 athletes); and (ii) bodybuilders could earn a living from their sport in greater numbers and with

 greater speed if competition existed in the input market for elite amateur bodybuilders.

        102.    As a direct and proximate result of wrongdoing by NPC, as alleged herein, Nspire

 has been injured in its business, including those involving money damages, and likely will be

 driven from the relevant market altogether if NPC is not enjoined from engaging in its

 anticompetitive conduct.

                                       Count IV
       Attempted Monopolization of Output Market for Major Amateur Competitions
                      (Violation of Section 2 of the Sherman Act)
                                          NPC

        103.    Plaintiff restates and re-alleges the preceding paragraphs of the First Amended

 Complaint.

        104.    As detailed above, the relevant market is the output market for the regulation,

 sanctioning, and promoting of major amateur bodybuilding competitions in the United States.

        105.    NPC has attempted to acquire a monopoly over the market for major amateur

 bodybuilding competitions in the United States, in that it regulates, sanctions, and/or promotes

 over 50% (amounting to approximately 300 events annually) of all amateur bodybuilding events

 in the United States, including the vast majority of events held in larger venues where attendance


                                                 49
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 50 of 60 PageID# 214




 and sponsorship revenues are highest. There is no other bodybuilding organization that holds

 more than a few dozen competitions in the United States, and those are typically non-major –

 i.e., held at smaller venues such as high schools and middle schools. Thus, NPC possesses and

 exercises significant power in the market for major amateur bodybuilding contests in the United

 States, and there is a dangerous probability that NPC will succeed in obtaining a monopoly in

 that market. If that happens, the injuries and anticompetitive affects described herein will only

 continue and become more egregious.

        106.   NPC has willfully attempted to acquire a monopoly over the relevant market by:

               a.      Expelling or threatening to expel amateur athletes who compete

                       outside the NPC from that organization, while simultaneously

                       making NPC membership a necessary requirement to join the

                       ranks of IFBB Professional athletes.

               b.      Requiring athletes, judges, vendors, and sponsors to work

                       exclusively with NPC, either through formal agreements or by

                       threatening that Jim Manion’s highly influential businesses will cut

                       ties with those athletes, judges, vendors, and sponsors who

                       associate   or   do   business   with    competing    bodybuilding

                       organizations.

               c.      Engaging in predatory conduct – such as the use of intimidation,

                       threats, punishment, harassment, and/or coercion – specifically

                       aimed at athletes, judges, vendors, and sponsors who chose to

                       associate with Nspire to cause those persons to disassociate from

                       Nspire.



                                                50
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 51 of 60 PageID# 215




               d.        Having agents, employees, and/or allies of NPC insinuate that

                         Nspire is mismanaged and will soon be out of business.

        107.   Competition is hurt by NPC’s attempt to achieve a monopoly over the output

 market for the regulation, sanctioning, and promoting of major amateur bodybuilding

 competitions in the United States because NPC shows are of lower quality than they would be if

 competition existed in the output market of major amateur bodybuilding events.

        108.   As a direct and proximate result of wrongdoing by NPC, as alleged herein, Nspire

 has been injured in its business, including those involving money damages, and likely will be

 driven from the relevant market altogether if NPC is not enjoined from engaging in its

 anticompetitive conduct.

                                        Count V
         Attempted Monopsonization of Output Market for Elite Amateur Athletes
                      (Violation of Section 2 of the Sherman Act)
                                          NPC

        109.   Plaintiff restates and re-alleges the preceding paragraphs of the First Amended

 Complaint.

        110.   As detailed above, the relevant market is the input market for U.S.-based elite

 amateur bodybuilders.

        111.   NPC has attempted to acquire a monopsony on the market for elite U.S.-based

 amateur bodybuilders, in that well over 80% of the U.S.-based bodybuilding athletes with a

 reasonable expectation of making a living in bodybuilding are NPC members. There is no other

 amateur bodybuilding organization that can boast of a similar roster of elite bodybuilding

 athletes. Thus, NPC possesses and exercises significant power in the market for U.S.-based elite

 amateur bodybuilding athletes, and there is a dangerous probability that NPC will succeed in




                                                 51
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 52 of 60 PageID# 216




 obtaining a monopsony in that market. If that happens, the injuries and anticompetitive affects

 described herein will only continue and become more egregious.

        112.    NPC has willfully attempted to acquire its monopsony over the relevant market

 by:

                a.     Expelling or threatening to expel elite amateur athletes who

                       compete outside the NPC from that organization, while

                       simultaneously making NPC membership a necessary requirement

                       to join the ranks of IFBB Professional athletes.

                b.     Requiring elite amateur athletes to work exclusively with NPC,

                       either through formal agreements or by threatening that Jim

                       Manion’s highly influential businesses will cut ties with those

                       athletes who associate or do business with competing bodybuilding

                       organizations.

                c.     Engaging in predatory conduct – such as the use of intimidation,

                       threats, punishment, harassment, and/or coercion – specifically

                       aimed at athletes who chose to associate with Nspire to cause those

                       individuals to disassociate from Nspire.

                d.     Having agents, employees, and/or allies of NPC insinuate that

                       Nspire is mismanaged and will soon be out of business.

        113.    Competition is hurt by NPC’s attempt to achieve a monopsony over the input

 market for U.S.-based elite amateur bodybuilders because (i) prize money available at IFBB

 Professional competitions is lower than it would be if competition existed in the output market of

 professional bodybuilding events and/or competition in the input market for elite amateur



                                                52
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 53 of 60 PageID# 217




 bodybuilders (since IFBB Professional would have to offer higher prizes to attract elite amateur

 bodybuilding athletes); and (ii) bodybuilders could earn a living from their sport in greater

 numbers and with greater speed if competition existed in the input market for elite amateur

 bodybuilders.

           114.   As a direct and proximate result of wrongdoing by NPC, as alleged herein, Nspire

 has been injured in its business, including those involving money damages, and likely will be

 driven from the relevant market altogether if NPC is not enjoined from engaging in its

 anticompetitive conduct.

                                            Count VI
           Conspiracy to Monopolize Output Market for Major Amateur Competitions
                           (Violation of Section 2 of the Sherman Act)
                          NPC, IFBB International, IFBB Professional

           115.   Plaintiff restates and re-alleges the preceding paragraphs of the First Amended

 Complaint.

           116.   As detailed above, the relevant market is the output market for the regulation,

 promotion, sanctioning, and staging of major amateur bodybuilding competitions in the United

 States.

           117.   NPC, IFBB International, and IFBB Professional have entered a conspiracy to

 achieve a monopoly in the relevant market by entering a series of anticompetitive agreements

 with each other wherein (i) IFBB Professional maintains a policy that requires U.S.-based

 amateurs to win or place highly at certain NPC-sponsored amateur competitions in order to join

 IFBB Professional; (ii) IFBB International has promulgated rules that automatically subject

 NPC’s athletes without their knowledge to the loyalty rules contained in IFBB International’s

 Constitution; (iii) NPC maintains a policy that excludes bodybuilders who compete for money in

 competitions held by bodybuilding organizations outside the IFBB Family from competing in


                                                 53
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 54 of 60 PageID# 218




 NPC-sanctioned events; and (iv) NPC maintains a practice where it will point out the loyalty

 rules in IFBB International’s Constitution to prevent amateur athletes from participating in

 contests run by competing bodybuilding organizations.        The conspiracy among the three

 defendants results in a web of agreements between them that forces all U.S.-based amateur

 bodybuilders who want to become an IFBB Professional athlete to compete exclusively at NPC-

 sanctioned events and to forego all potential income from bodybuilding contests until they are

 elevated to the ranks of professional bodybuilders within the IFBB Family.

        118.   Furthermore, NPC, IFBB Professional, and IFBB International have contracted,

 combined, and/or conspired amongst themselves and with certain publishing, manufacturing,

 distribution, and marketing business owned, operated, or controlled by Jim Manion to destroy

 competition within the relevant market by:

               a.      Expelling or threatening to expel amateur athletes who compete

                       outside the NPC from that organization, while simultaneously

                       making    NPC    membership     a   necessary    requirement   for

                       advancement to the ranks of professional bodybuilding within the

                       IFBB Family.

               b.      Requiring bodybuilding athletes, judges, vendors, and sponsors to

                       work exclusively with NPC, IFBB Professional, and/or IFBB

                       International, either through formal agreements or by threatening

                       that Jim Manion’s highly influential businesses will cut ties with

                       those athletes, judges, vendors, and sponsors who associate or do

                       business with competing bodybuilding organizations.




                                               54
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 55 of 60 PageID# 219




                c.     Engaging in predatory conduct – such as the use of intimidation,

                       threats, punishment, harassment, and/or coercion – specifically

                       aimed at athletes, judges, vendors, and sponsors who chose to

                       associate with Nspire to cause those persons to disassociate from

                       Nspire.

                d.     Having the IFBB Family’s agents, employees, and/or allies

                       insinuate that Nspire is mismanaged and will soon be out of

                       business.

        119.    Competition is hurt by NPC, IFBB International, and IFBB Professional’s

 conspiracy to achieve a monopoly over the output market for the regulation, sanctioning, and

 promoting of major amateur bodybuilding competitions in the United States because NPC shows

 are of lower quality than they would be if competition existed in the output market of major

 amateur bodybuilding events.

        120.    As a direct and proximate result of the NPC, IFBB Professional, and IFBB

 International’s collective wrongdoing, as alleged herein, Nspire has been injured in its business,

 including those involving money damages, and likely will be driven from the relevant market

 altogether if NPC, IFBB Professional, and IFBB International are not enjoined from engaging in

 their anticompetitive conduct.

                                           Count VII
              Conspiracy to Monopsonize Input Market for Elite Amateur Athletes
                          (Violation of Section 2 of the Sherman Act)
                         NPC, IFBB International, IFBB Professional

        121.    Plaintiff restates and re-alleges the preceding paragraphs of the First Amended

 Complaint.




                                                55
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 56 of 60 PageID# 220




        122.   As detailed above, the relevant market is the input market for U.S.-based elite

 amateur bodybuilders.

        123.   NPC, IFBB International, and IFBB Professional have entered a conspiracy to

 achieve a monopsony in the relevant market by entering a series of anticompetitive agreements

 with each other wherein (i) IFBB Professional maintains a policy that requires U.S.-based

 amateurs to win or place highly at certain NPC-sponsored amateur competitions in order to join

 IFBB Professional; (ii) IFBB International has promulgated rules that automatically subject

 NPC’s athletes without their knowledge to the loyalty rules contained in IFBB International’s

 Constitution; (iii) NPC maintains a policy that excludes bodybuilders who compete for money in

 competitions held by bodybuilding organizations outside the IFBB Family from competing in

 NPC-sanctioned events; and (iv) NPC maintains a practice where it will point out the loyalty

 rules in IFBB International’s Constitution to prevent amateur athletes from participating in

 contests run by competing bodybuilding organizations.        The conspiracy among the three

 defendants results in a web of agreements between them that forces all U.S.-based amateur

 bodybuilders who want to become an IFBB Professional athlete to compete exclusively at NPC-

 sanctioned events and to forego all potential income from bodybuilding contests until they are

 elevated to the ranks of professional bodybuilders within the IFBB Family.

        124.   Furthermore, NPC, IFBB Professional, and IFBB International have contracted,

 combined, and/or conspired amongst themselves and with certain publishing, manufacturing,

 distribution, and marketing business owned, operated, or controlled by Jim Manion to destroy

 competition within the relevant market by:

               a.        Expelling or threatening to expel amateur athletes who compete

                         outside the NPC from that organization, while simultaneously



                                               56
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 57 of 60 PageID# 221




                       making      NPC   membership     a   necessary      requirement   for

                       advancement to the ranks of professional bodybuilding within the

                       IFBB Family.

                b.     Requiring elite amateur bodybuilding athletes to work exclusively

                       with NPC, either through formal agreements or by threatening that

                       Jim Manion’s highly influential businesses will cut ties with those

                       athletes, judges, vendors, and sponsors who associate or do

                       business with competing bodybuilding organizations.

                c.     Engaging in predatory conduct – such as the use of intimidation,

                       threats, punishment, harassment, and/or coercion – specifically

                       aimed at elite amateur athletes who chose to associate with Nspire

                       to cause those persons to disassociate from Nspire.

                d.     Having the IFBB Family’s agents, employees, and/or allies

                       insinuate that Nspire is mismanaged and will soon be out of

                       business.

        125.    Competition is hurt by NPC, IFBB International, and IFBB Professional’s

 conspiracy to achieve a monopsony over the input market for U.S.-based elite amateur

 bodybuilders because (i) prize money available at IFBB Professional competitions is lower than

 it would be if competition existed in the output market of professional bodybuilding events

 and/or competition in the input market for elite amateur bodybuilders (since IFBB Professional

 would have to offer higher prizes to attract elite amateur bodybuilding athletes); and (ii)

 bodybuilders could earn a living from their sport in greater numbers and with greater speed if

 competition existed in the input market for elite amateur bodybuilders.



                                                57
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 58 of 60 PageID# 222




        126.    As a direct and proximate result of the NPC, IFBB Professional, and IFBB

 International’s collective wrongdoing, as alleged herein, Nspire has been injured in its business,

 including those involving money damages, and likely will be driven from the relevant market

 altogether if NPC, IFBB Professional, and IFBB International are not enjoined from engaging in

 their anticompetitive conduct.

                                         JURY DEMAND

        127.    Plaintiff hereby demands a trial by jury on all issues so triable.

                                              PRAYER

        WHEREFORE, Plaintiff prays:

                a. That the IFBB Family be enjoined from further anticompetitive conduct, as
                   described herein;

                b. That Plaintiff be awarded treble their actual damages in an amount to be
                   determined at trial;

                c. That Plaintiff be awarded prejudgment and post-judgment interest as well as
                   costs and reasonable attorneys’ fees under applicable law; and

                d. That Plaintiff be awarded such and other further relief as this Court deems just
                   and proper under the circumstances.




                                                  58
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 59 of 60 PageID# 223




                              Respectfully submitted,

 Dated: April 26, 2016        /s/ Craig C. Reilly
                              Craig C. Reilly VSB # 20942
                              craig.reilly@ccreillylaw.com
                              The Law Office of Craig C. Reilly
                              111 Oronoco Street
                              Alexandria, VA 22314
                              Telephone:       703-549-5354
                              Facsimile:       703-549-5355

                              Scott A. Cunning, II VSB #. 68071
                              scott.cunning@haynesboone.com
                              Thomas J. Lang (pro hac vice)
                              thomas.lang@haynesboone.com
                              Michael J. Scanlon (pro hac vice)
                              michael.scanlon@haynesboone.com
                              Scott Benfield (pro hac vice)
                              scott.benfield@haynesboone.com
                              HAYNES AND BOONE, LLP
                              800 17th Street, NW, Suite 500
                              Washington, DC 20006
                              Telephone:      (202) 654-4500
                              Facsimile:      (202) 654-4245

                              Richard D. Anigian (pro hac vice)
                              rick.anigian@haynesboone.com
                              Nick Nelson (pro hac vice)
                              nick.nelson@haynesboone.com
                              HAYNES AND BOONE, LLP
                              One Victory Park
                              2323 Victory Avenue, Suite 700
                              Dallas, Texas 75219
                              Telephone:      (214) 651-5000
                              Facsimile:      (214) 651-5940

                              Attorneys for Plaintiff Nspire Sports League, LLC




                                       59
Case 1:16-cv-00232-CMH-TCB Document 44 Filed 04/26/16 Page 60 of 60 PageID# 224




                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 26th day of April, 2016, I electronically filed the foregoing

 with the Clerk of Court by using the CM/ECF system, which will send a notice of electronic

 filing to all counsel registered to receive such notice.

                                        Respectfully submitted,

 Dated: April 26, 2016                  /s/ Craig C. Reilly
                                        Craig C. Reilly VSB # 20942
                                        craig.reilly@ccreillylaw.com
                                        The Law Office of Craig C. Reilly
                                        111 Oronoco Street
                                        Alexandria, VA 22314
                                        Telephone:       703-549-5354
                                        Facsimile:       703-549-5355

                                        Attorney for Plaintiff Nspire Sports League, LLC
